Case 1:16-cv-01364-JPO Document 17-1 Filed 05/24/16 Page 1 of 45




              Exhibit
                      66            ))
                     case
                   Case    1:16-cv-o1364-JPo
                        1:16-cv-01364-JPO  Document    å Filed 03/Ø'r116
                                                    17-1
                                             Document                    page 2L of
                                                               05/24/16 Page     of 45
                                                                                    Z

AO 440 (Rev. 06/12) Summons in a Civil Action


                                     UNrrpD STATES DrsrRrcr Counr
                                                                  for the
                                                   Southern District ofNew     York EI
               ROSEMARIE RICHARDSON                                 )
                                                                    )
                                                                    )
                                                                    )
                            Plaintffis)                             )
                                                                    )
                                V.                                          Civil Action   ¡q.   l:16-cv-01364
                                                                    )
                  CARMEN FARINA, et al
                                                                    )
                                                                    )
                                                                    )
                                                                    )
                          Defendant(s)
                                                                    )

                                                 SUMMONS IN A           CIVI   ACTION

To:   (Defendant's name and address) See    attached rider   1.




          A lawsuit has been filed against you.

          Within 2l days after service of this summons on you (not counting the day you received it)    or 60 days if you
                                                                                                                 -
are the United States or a United States agency, or an officer or employee of the United States described in Fed. R. Civ.
P . 12 (a)(2) or (3)  you must serve on the plaintiff an answer to the attached complaint or a motion under Rule 12 of
                     -
the Federal Rules of Civil Procedure. The answer or motion must be served on the plaintiff or plaintiffls attorney,
whose name and address are:
                                      Jay B. ltkowitz
                                      Itkowitz PLLC
                                      26 Broadway,2l Floor
                                      New York NY 10004



       If you fail to respond, judgment by default will be entered against you for the relief demanded in the complaint.
You also must file your answer or motion with the court.



                                                                               CLERK OF COURT


Date: 2/22/20L6                                                                     /s/ P. Canales
                                                                                           Signature of Clerk or Deputy Clerk
        Case 1:16-cv-01364-JPO Document
         aaasejllL66euvgtqGg4lmÐ         17-1 ffiëdf[MØnod66
                                 DiþwnnohtztSi- Filed 05/24/16 Page 3 of 45
                                                               @ge3toóß]_



                                      Rider   I
Defendants

CARMEN FARINA, KATHERINE G. RODI, CANDACE R. MCLAREN, MIRIAM M.
BERARDINO, ANNA STEEL, THE NEW YORK CITY DEPARTMENT OF EDUCTION,
THE NEW YORK CITY BOARD OF EDUCATION AND THE CITY OF NEW YORK

Address (for all defendants):

52 Chambers Street
New York, NY 10007
           Case 1:16-cv-01364-JPO Document 17-1 Filed 05/24/16 Page 4 of 45
61172




Jay B. Itkowitz (JBI-5349)
ITKOWITZ PLLC
26 Broadvtay, 2 l tt Floor
New York, New York 10004
(646) 822-t80r
jitkowrtz@itkowitz.com

Attorneysfor Plaintiff

I-INITED STATES DISTRICT COURT
SOUTHERN DISTRICT OF NEW YORK
                                                         X
ROSEMARIE RICHARDSON

                                 Plaintift                   IndexNo.    1:16-cv-01364


                    -against-                                VERIFIED COMPLAINT


CARMEN FARINA, KATHERINE G. RODI,                            PLAINTIF DEMANDS A
CANDACE R. MCLAREN, MIRIAM M.                                JURY TRIAL
BERARDINO, ANNA STEEL, THE NEW YORK CITY
DEPARTMENT OF EDUCTION, THE NEW YORK
CITY BOARD OF EDUCATION AND THE CITY OF
NEW YORK

                                Defendants.


                Plaintiff ROSEMARIE RICHARDSON ("Plaintiff' or ooRichardson"), by her

attorneys, Itkowitz PLLC, as and for her complaint against the Defendants CARMEN FARINA

(o'Farina"), KATHERINE          G. RODI ("Rodi"), CANDACE R. MCLAREN ("Mclaren"),
MIRIAM M. BERARDINO (ooBerardino"), ANNA STEEL ("Steel"), THE BOARD                           OF

EDUCATION OF THE CITY OF NEW YORK ("BOE") AND/OR THE DEPARTMENT OF

EDUCATION OF THE CITY OF NEW YORK ("DOE") (collectively "Defendants"), alleges

as   follows:

                                             THE PARTIES

                I        Plaintiff resides at 622Bast20th Street, New York, New York 10009.
        Case 1:16-cv-01364-JPO Document 17-1 Filed 05/24/16 Page 5 of 45



               2.       At all relevant times,   Richardson was a tenured administrator in the New

York City public school system with over 30 years of experience.

               3.       Defendant Farina is the Chancellor of the BOE and/or the DOE and the

chief administrator of the New York City public schools.

               4.       At all relevant times, Defendant Rodi       was and is employed by the

Defendant DOE as Director of the Off,rce of Employee Relations.

               5.       Upon information and beliet at all relevant times, Defendant Mclaren is

and/or was employed as the Director of the Office of Special Investigations of the DOE.

               6.       Upon information and belief, at all relevant times Defendant Berardino is

and/or was a Confidential Investigator for the Office of Special Investigations for the DOE.

               7.       Upon information and belief, at all relevant times Defendant Steel was a

Confidential Investigator for the Office of Special Investigations for the DOE.

               8.       The BOE and/or the DOE is a public corporation with a principal location

in the County of New York.

               9.       The BOE andlor the DOE operates the New York City public schools.

               10.      The BOE and/or the DOE is a person within the meaning of 42 USC           $


1983.

               I   1.   The BOE and/or the DOE maintains a principal place of business at 52

Chambers Street, New York, New York.

                                 JURISDICTION AND VENUE

               12.      Jurisdiction over this action is based upon 28 U.S.C. $$ 1331 and

13a3(a)(3) as this matter involves federal questions under 42 USC $ 1983 and the Fourteenth

Amendment of the United States Constitution.

               13.      Jurisdiction is also predicated on 28 USC $     I3   3@) in that the claims

                                                   2
        Case 1:16-cv-01364-JPO Document 17-1 Filed 05/24/16 Page 6 of 45



asserted herein provide for the protection of   civil rights.

               14.     Plaintiff also seeks declaratory relief pursuant to 28 USC $$ 2201      and

2202.

               15.     This Court also has supplemental jurisdiction over Plaintiff s state law

claims pursuant to 28 USC $ 1367 because the state claims are so related to the federal claims

that they form part of the same case and/or controversy between Plaintiff and Defendants.

               16.     Venue is proper in the United States District Court for the Southern

District of New York pursuant to 28 U.S.C. $ 1391(b).

               17.     In the event Plaintiff prevails in this proceeding, she will be entitled to

attorneys' fees and costs pursuant to 42 USC $ 1988.

         NATURE OF CLAIM AND FACTS GIVING RISE TO THE COMPLAINT

               18.    The BOE and/or the DOE deprived Ms. Richardson of her constitutional

rights pursuant to the 14th Amendment of the United States Constitution and her statutory rights

pursuant to the New York State Education Law $ 3020-a by subjecting Ms. Richardson to

disciplinary proceedings and placing Ms. Richardson on an "ineligible list" thereby stigmatizing

hcr and damaging her liberty and property interests, all without the benefit of a hearing       as

required by the United States Constitution and the New York State Education Law.


               19.    On or about October 13, 2011, the Office of Special           Investigations

("OSI") received a referral from the Special Commissioner of Investigation ("SCI") claiming

Richardson, a supervisory employee with tenure, had "falsely documented" that a mother had

participated in a telephone conference with the respect to a student's Individualized Education

Program ("IEP").

               20.    On or about November 29,2011, upon information and belief, Defendant

Steel, an OSI investigator, notified Richardson that she was the subject       of an unspecified
                                                   J
      Case 1:16-cv-01364-JPO Document 17-1 Filed 05/24/16 Page 7 of 45



investigation.

                 21.   Defendant Richardson was not given any details of the allegations which

had been purportedly asserted against her.

                 22.    Subsequently, upon information and      beliet Defendant Steel, the OSI

investigator conducted an "interview" with Ms. Richardson on or about December 16,2011.

                 23.   During the "interview" for the first time, Richardson was advised that a

parent had asserted that Richardson had "falsely documented" that the parent had participated in

a telephone conference on June   28,2011 with the respect to the parent's child's IEP.

                 24.   During the "interview" Richardson was advised she had failed to contact

the student's service provider to schedule the IEP conference, failed to contact the mother of the

student to schedule the IEP conference and failed to follow various "timelines" imposed by the

NYS regulations and the Education Law.

                 25.   Prior to the "interview" at no time was Richardson given any notice

whatsoever of any specific complaints about her performance, let alone an opportunity to prepare

a defense.

                 26. At the 'ointeliew", Richardson      denied and herein denies the allegation

that she "falsely documenterJ that the parent had participated in a telephone conference on June

28,2071 with the respect to the parent's child's IEP.

                 27. At the oointerview",    Richardson denied and herein denies that she had

failed to contact the student's service provider to schedule the IEP conference, failed to contact

the mother of the student to schedule the IEP conference and failed to follow various "timelines"

imposed by the NYS regulations and the Education Law.

                 28.   At the o'interview", Richardson was not permitted access to her files.



                                                 4
         Case 1:16-cv-01364-JPO Document 17-1 Filed 05/24/16 Page 8 of 45



                29. At no time prior to and/or after the "interview"        was Richardson given

access   to telephone records maintained by DOE in the regular course of business with respect to

IEP proceedings.

                30.     To Richardson's knowledge, nothing ever occurred after the "interview"

on December 16,2011.

                31.     Richardson retired in July of 2012.

                32.     Unbeknownst    to   Richardsono   OSI continued to process the complaint

without notice of any kind to Ms. Richardson.

                33. At no time was Richardson             given any written notice of any specific

allegations and an opportunity to contest the same.

                34.     On or about August 14,2012 in OSI Case #l l-935, Defendant Berardino

recommended that the allegations    be   o'substantiated" that Richardson had purportedly "falsely


documented" that the subject parent had participated in a telephone conference on June 28,2011,

failed to contact the student's service provider to schedule the IEP conference, failed to contact

the mother of the student to schedule the IEP conference and failed to follow various "timelines"

imposed by the NYS regulations and the Education Law.

                35.     On or about August 14, 2012, Defendant Berardino recommended that

Richardson "be placed on the Ineligible List and not be considered for future employment with

the DOE".

                36.     The recommendation by Defendant Beradino was "approved" by

Defendant Mclaren.

                37. At no time did Defendants Beradino and/or Mclaren and/or the BOE
and/or the DOE provide Richardson with notice that any allegations had been "substantiated"

andlor'oapproved".

                                                  5
               Case 1:16-cv-01364-JPO Document 17-1 Filed 05/24/16 Page 9 of 45



                     38.     At no time did   Defendants Beradino and/or Mclaren and/or BOE and/or

the DOE provide Richardson with notice that she had been placed on" the Ineligible List and not

be considered for future employment with the DOE."

                     39.     Ms. Richardson did not find out about this administrative action until July

20,2015.

                     40.     The circumstances by which she discovered this action occurred when she

applied for an educational position with Manual Therapy Center, Inc. on April23, 2015.

                     41.     As part of the vetting process, her name was submitted for vetting for

security clearance with the DOE.

                     42.     Her application for security was denied and it was not until July 20,2015

that she learned that the DOE had placed Richardson on an "Ineligible List."

                     43.     On July 28,2015, Richardson received a letter for the DOE advising her

that because of a o'report" dated August 14,2012, Richardson denied a "security clearance" to

work as an Educational Administrator for the DOE. A copy of the letter is annexed as Exhibit
,,
     lr,   .



                     44.     Richardson had never received prior notice of any "report" placing her on

an "Ineligible      List."

                     45.     In further investigating the circumstances of this event, she checked   her

personnel file with DOE and discovered that no record             of such action was contained in    her

personnel file.

                     46.     It took a letter from her prior counsel, Neal Rosenberg, dated August   12,


2015 to dislodge the offending letter documenting the administrative action from DOE which he

received on or about September 9,2015 in which he received the offending determination via




                                                      6
     Case 1:16-cv-01364-JPO Document 17-1 Filed 05/24/16 Page 10 of 45



email from Mallory Sullivan.              A   copy of the Rosenberg letter and response are respectively

annexed as Exhibits        "2"   and   "3".

                 47.         Subsequently,      Mr. Rosenberg requested that Ms. Sullivan reconsider the

determination in issue via letter dated September 29,2015. A copy is annexed as Exhibit "4".

                 48.         By letter dated October 20, 2015, Katherine G. Rodi, Director of           the

Office of Employee Relations for the DOE, "affirmed" the original fÏndings in the "approved"

recommendation dated August 14,2012.                A copy of the letter dated October 20,2015, which   was

mailed by Rodi to Richardson, is annexed as Exhibit "5".

                 49.         On January ll, 2016, Richardson served and filed a Notice of Claim

against the BOE and DOE and the Comptroller of the City of New York alleging that the

foregoing actions by the OSI, the DOE, the Board of Education and the City of New York,

deprived Ms. Richardson of her constitutional and statutory rights to due process and to defend

the allegations before an impartial court and/or hearing officer and the right to confront those

who accused her of the charges which were substantiated. A copy of the Notice of Claim is

annexed as Exhibit "6".

                 50.         More than thirty days has elapsed since the Notice of Claim has been filed

against the DOE and BOE and the claim has not been adjusted.

                 51.         Upon information and belief, Richardson remains on the "Ineligible List"

and continues to be disqualified from being employed, in any capacity, by the BOE and/or DOE

and/or any contractor who contracts with the DOE and/or BOE.


                            AS AND FOR A FIRST CAUSE OF ACTION
                      (Violation of the Fourteenth Amendment/Liberty Interest)

                 52.         Plaintiff repeats and realleges all of the allegations set forth in paragraphs

" 1" through   "51"   as   if fully    set forth below.


                                                          7
       Case 1:16-cv-01364-JPO Document 17-1 Filed 05/24/16 Page 11 of 45



                 53.     The placement of Richardson on the BOE and/or DOE's "Ineligible List"

has deprived Richardson of due process of law.

                 54.     In continuing to disqualify Richardson from employment with the DOE

and/or BOE and/or any contractor who contracts with the BOE and/or DOE, the

Defendants have injured Richardson's good name and reputation and have foreclosed her from

practicing her profession without due process and/or the ability to contest the allegations arising

from the "investigation" of Richardson.

                 55.     As a proximate result of Defendants' conduct, Richardson has suffered

and continues to suffer substantial losses in earnings and other benefits she would have received

absent Defendants' improper action.

                 56.     As a further proximate result of the above-described actions, Richardson

has suffered humiliation, mental pain and anguish. These injuries justify an award of

compensatory damages in an amount to be determined by          a   jury at trial.

                         AS AND FOR A SECOND CAUSE OF ACTION
                              (Violation of Education Law)

                 57.     Plaintiff repeats and realleges all of the allegations set forth in paragraphs

"l"   through "56" as if fully set forth below.

                 58.     Section 3020-a of the New York Education Law provides that "No person

enjoying the benefìts of tenure shall be disciplined or removed during a term of employment

except for just cause..."


                 59.     New York Education Law $ 3020-a provides for a hearing before a single

hearing officer and $ 3020-a(5) requires notice of a hearing officer's decision after which an

employee may make an application to the New York Supreme Court.

                 60.     An employee who resigns with tenure retains the rights of a tenured

                                                    I
      Case 1:16-cv-01364-JPO Document 17-1 Filed 05/24/16 Page 12 of 45



employee after resignation.

                 61.         The failure to afford Richardson a hearing before an impartial hearing

officer and to provide Richardson with a notice and opportunity to be heard with respect to any

allegations regarding her conduct, violated Education Law $ 3020-a.

                 62.         Accordingly, Richardson is entitled to compensatory damages in an

amount to be determined by an award of compensatory damages in an amount to be determined

by a jury at trial.


                              AS AND FOR A THIRD CAUSE OF ACTION
                                    (Violation of CPLR Article 78)

                 63.         Plaintiff repeats and realleges all of the allegations set forth in paragraphs

"1" through "62"      as   if fully   set forth below.

                 64. In placing Richardson                 on an "ineligible list" and in "affirming"   such

determination without notice and an opportunity to be heard, Defendants have acted in an

arbitrary and capricious manner, have committed an effor in law and procedure andlor an abuse

of discretion in violation of $ 7803(3) of New York's Civil Practice Law and Rules.

                 65.         Accordingly, Richardson respectfully requests that the Court annul the

determination placing her on "ineligible list" so that she may be employed by the BOE andlor

DOE and/or any contractors doing business with the BOE and/or DOE.




                 WHEREFORE, Plaintiff demands judgment                  as   follows:

                 (Ð          On the First Cause of Action, a money judgment in favor      of
                             Plaintiff and against Defendants, plus attorney fees,      costs
                             and expenses, in an amount of damages in an amount to be
                             determined by     a   jury attrial;

                 (iD          On the Second Cause of Action, a money judgment in
                             favor of Plaintiff and against Defendants, plus attorney
                                                            9
     Case 1:16-cv-01364-JPO Document 17-1 Filed 05/24/16 Page 13 of 45



                   fees, costs and expenses, in an amount of damages in an
                   amount to be determined by a jury at trial; and

           (iii)   On the Third Cause of Action, annulling the determination
                   by the Defendants to place Plaintiff on an "ineligible list"
                   on the grounds that such determination is arbitrary and
                   capricious, an effor in law and procedure and/or an abuse
                   of discretion in violation of $ 7803(3) of New York's Civil
                   Practice Law and Rules.


           (iv)    Enjoining the Defendants from placing Plaintiff on an
                   "Ineligible List" without first affording her Due Process of
                   Law;

           (v)     Granting Plaintiff such other and further relief as this Court
                   deems just and proper.



Dated:     New York, New York
           February 22,2016

                                                             ITKOWITZPLLC
                                                             Atto r ne y s for   P I a i nt   iff
                                                      By:    /s/ Jav B. Itkowitz
                                                             Jay B. Itkowitz (JBI-5349)
                                                             26 Broadway, 21st Floor
                                                             New York, New York 10004
                                                             (646) 822-r80r
                                                             jitkow itz@itkowitz. com




                                             10
     Case 1:16-cv-01364-JPO Document 17-1 Filed 05/24/16 Page 14 of 45
         Case L:L6-c ì1364 Document L Filed 02122116 age 11- of L1




                                          VERIFICATION


STATE OF NEW YORK                     )
                                      )       ss:
COUNTY OF NEW YORK                    )


               ROSEMARIE RICHARDSON, being duly swom, deposes and says:

               I am the Plaintiff in this matter. I have read the foregoing Verified Complaint and

know the contents thereof. The same is true to my own knowledge, except those matters therein

which are stated to be alleged on information and belief, and as to those matters I believe them to

be true.




                                                     Rosemarie


Swonr to before me this
QþA"y of February 2016
Case 1:16-cv-01364-JPO Document 17-1 Filed 05/24/16 Page 15 of 45




               Exhibit
                        (6
                              1))
              Case 1:16-cv-01364-JPO Document 17-1 Filed 05/24/16 Page 16 of 45
                   Case 1-:1-6-, )L364 Document 1-1 Filed O2t22t'" Page 1, of 2




                            THE NEW YORK CITY DEPARTMENT OF EDUCATION
                             Division of Humao Resources
Departnent of
Education                   Of6ce of Petsonnel Investþtion
Cmcn   Fatina, Chrncelktr   65 Court Steeq Roorn 200 -Btooklyn, NY 11201



   Jvly 28,2015

   Rosematie Richatdson
   622Bast20û Sr, -A,pt 98
   NewYo¡k, NY 10009

   License,/Title/Position: Special Education Supervisor/Teacher/lvf¿sual Thempy Ceote¡/DOE Vendo¡
   Applicaot ID#: 0303676
   PRP      #: 128,638

   Dear lvls. Richardson,

   The Chief Executive Officer of the Division of Hu¡ran Resources, through his desþee, has reriewed your
   application for securit¡ cleatance. Aftet a thotough review io accotdance v¡ith the applicable ptovisions of
   lav.r, yout application has been denied.


   The speci6c leason fot the d6ni"l ef y6ur applicatioa is based upou drrc considetation of the follow'ing:

                   Employer                         EmploymeotRaage                              Reason

[N"w V*t              Clty Deparment   of           9/11/87   -7/7/2072          Offlce of Special Investigations (OSI)
                                                                                       Repon Case No. 11-9350
                   Education


   Yow applicatioa for secutity clearance is denied due to yout ¿dverse employment histoty rrith the New Yotk
   City Þipattmeot of Education POE). While employed as an Educatiooal Adminisuato¡ fo¡ the DOE you
   were suËject of an OSI Repor, dated 8/74/12. This report found that, in you: posiúon as a Co¡¡.mittee oa
   Prcschool Special Education (CPSE) .{.dministtator, you failed to follew the timelines rradet Section 200'16
   of the NYS Regulations orlrl Section 4410 of Education Laq¡ Attide 89, you failed to tcspond to the tequest
   of both p.r"nt a¡d setyice prowider to change a student's Individuaìized Education Plau (IEP), you failed
           ^ said studenCs mothet aad senrice providet to tevie¡y and ensr¡¡e that they could be in attendasce
   to contact
   during an IEP review, anci you falsely documerted that said mothet had participate{ via teleconi-ereuce, in
   the annual tevierr of her child's IEP.

    If granted security clearance, you will þç yertri¡g in a position where you will be tesponsible fot botb, the
    maoagement and the implementatioq of va¡ious studeut IEP's. Yout i¡ability to PtoPerly catrl out the duties
    and tesponsibilities of the position you held as a DOE employee câuses grave corÌcern whea coasidedng your
    ability io satisfactodly perform in the positiorl you âre see.king. Graoting you security cleatance would pose
    arr rur¡eâsonâble dsk to the safety and welfare of tbe school commr,rnity aad to tâxPÀyff iotetests,


    You were giveo the opportunity to ¡eview tle above infomatio¡ q¡ith the Ofãce of Petsonsel Investig¿tion
    and to ptooide iofotm¿tioa in suppott of yoru application drrriog your iatewiew, coaducted or.7 /20/2015.

    'Sle                                                all iaformarion submitted by you druing yout ioterriew) in making
           have reviev,red yout entire 6Ie   þcluding
    this decision.




                                        Telephono   Qlï)%5.266   - Fax (718) 9354366/5778
          Case 1:16-cv-01364-JPO Document 17-1 Filed 05/24/16 Page 17 of 45
              Case L:!6< 11-364 Document l--1 Filed O2l22| Page 2 oI2




Please be advised that you rue unable to reapply   fot employxrent fot twelvc   (12) months   ftom the date of this
letter.

Sincetely,

The Office of Petsor¡ael Investþtion
Division of Huma¡ Resources
NYC Departrnest of Educatioo
Case 1:16-cv-01364-JPO Document 17-1 Filed 05/24/16 Page 18 of 45




               Exhibit
                        6c2        ))
      Case 1:16-cv-01364-JPO Document 17-1 Filed 05/24/16 Page 19 of 45
          Case 1:16-1 11364 Document 1-2 Flled O2l22l1 Page 1 of L




                    Llw   OFflcÊs OF

       Neer H. RoSENBERc
                                                                                            9    ivtmnevsrn¡¡r
                                                                                                 surrE4WEsr
                                                                                 ¡{Ê\À¡   YosK   NE¡J YoRK tOO07   -2281

                                                                                      TEtrPHoilE(z1 A    7   32-9450
                                                                                      TE-EI0PER! (21Ð     57r-9893
                                                                                     neal.mcçnberúr¡Fdlaw.so m


                                                                  August 12,2015



       The ì{ew York C'rty Departmentof Educatiqn
       Dîvision of Human Resources
       OfFce of Personnel lnvestigation
       65 Cou¡t Street, Room 200
       Brooklyn, NY 11201



                                Re:      Rosemarie Richardson



       Dear Gentlemen:

               Thls oñfce has been retaíned by the above referenced regarding the letter she recelved (copy
       attached).

              I would like to rev'nw her file and discuss this matter further in light of the fact that she ffin not
       now be ernployed as she wquld like.



                                                                  very




Cc:   0æet'"<¡n          e    t2ic\''ord':rrr
Case 1:16-cv-01364-JPO Document 17-1 Filed 05/24/16 Page 20 of 45




               Exhibit
                        6(         ))

                             3
        Case 1:16-cv-01364-JPO Document 17-1 Filed 05/24/16 Page 21 of 45
             Case L:I6-r 11-364 Document 1-3 Flled O2l22l1 Page 1 of I




Naal Rosenbers

From:                           Sullir¡en Mallory lMSulllvanS@tchoots.nyc.ganl
Sent                            Wednesday, September09. 2016 221 PM
To:                             Neal Rosenberg
SubJect:                        R. Richardson
Àtt¡ohments:                    R.Ricñardson.Pdf


Good aftemoon,
pleasefindatÞchedacopyofthe requeste<treport. ltisourunderstandingyouexhaui;tedallregularchannelsfora
copy of said reporç and were unsuccessfr¡l in securing a coyy-

Thank   Ìou,
Mallory Sullivan



Mallory O. Sulliva¡
FÌrst Deputy Director, Ofice of Pe¡so¡¡nel Inveetþaùion
Divisiou oû Iluúûen RÞæurces
New Yo¡k Ciúy Departoent of Diluc¿tion
6õ Cou¡t St¡eel Bm 200
Brookþn" NewYork lt20t
0rB) 9S5-4?r0 rlirect
¡A$uillva   n   g@sdùog¡g-$vçßgv

                                                                                                   and pr¡v¡le8Êd lafonmtion forthe use of the
cotìfidenthl.rry Nogce:Ìhis e¡r¡allcommmbaúon end eny.tt*hmants mdy contaln conf,dential
                                                                                                        you hrn re crþ¡d ürls mrnmunlcation ln
Jirien"¡"¿ t"âphnts nånìed lbovr. tf you arr not thê ¡rìændêd recipbttç you are ñereby no$fhd tåat
                                       disscminrùon, dlstlbutbn or Êopylng of lt or lts contents b grohlbltÊd. lf you lraæ recalvad thls
enor end that eny rwtw,    dlsclosur:,
                                                                                                   from Ttur GorîPutÊr'Tftank yotl'
comrn¡nlcetion in eíor, pleare notlfy me lrîmedhtely bY repþlng to tlrls messagÊ and delcdngfr




                                                                         1
      Case 1:16-cv-01364-JPO Document 17-1 Filed 05/24/16 Page 22 of 45
          Case 1-:I6-c 11-364 Document 1-3 Filed 02122f Page 2 of 8




Denartmcfücû
Rlucaüon
o¿¡rrrs¡t tlài¡od,   dr¡¡¡lr
goqt&íqÊ,hú*otÉCrüê            D¡fi:        .dugust   1.+2õlZ
(lq-lèdßd

Clnihrc ll-ifc¿¡ttû            TOr           CaodaæR.Mol,rcn
Dltlritr                                     Di¡eotqr.

.êDrblopbg.l Drllor'           FROM:         W,r¡ryn M. BcnrdiPqfüA¡na Stcof
DÈFlyDõc¡ibr                                 C o¡ñdçoiíal -fnvesdigatot

                                             .Roserno¡leRictn¡dsorr'
N¡rhrV- f,¡mlcr                ßUAtÉer:                                Filç il6?¡761r
¡twhÊDircclr                                 Admíni-str-atsr, OosrmlÍco on fhs¡chool'SÞeoial Ëd.ug$on

                                             OSlCase #114350


                                                              onIeIN OTCOMPI¿4¡T

                                       oü ocrot(f 13,201l,    þ officc.ofspect4 ¡nvgtis,Eüor¡ ('osl") réðciv€ìl a
                               ts+'r'r 6a t" spÊ;¡d Cú,bìtdbnèr of InirtsËgadoo {.!9p T.*19[s-gitflS.yt
                               örn¡scr¡sr¡t R¡ctr-od¡on, Çomdttca oaPrcscbocl Spccial Educalion fl€PSn'J.l Ms
                               Ë   M;ö*n14¡t      crr¿vó nirçcmr, Gor¡urtlttcc on S¡e.ciet fAucationt .np,ortod tb¡f' o¡
                               id"ültöí[!rt"      ßi"¡r¿¡.n ¡ø ¡t*¡y docuuerted tbst Mot¡€r ¡' !ø n-Uctp"t¿
                               øa iUdonftrincc" in tlc a¡nugl rwlÊWof Shdr3l A'r ladtvlilualize{ &l¡¡cetion
                               nã*.n" f¡gP")4-told'on     *  t".u r¡le. Mr. lyfcllo¡¿ld fuhct sùr¡il &at hls
                               .i"bäri;-"Jb"..¿ oo a coqilainr he ¡e*ivc¡l Eqin CluÍslsphcir Tæiber, Dirtctor of
                                Advocsdy Scrv¡cc$ AHRC Now'Yo* Cfty.'




                                                              I door¡¡¡¡¡ttfü    ot¡tltf¡lg   cdoathnrl ¡ooû¡m fór¡ ¡t¡d¡nt

                                                                     i.r,v¡òr¡                  totttoÉlt[ç      ncr&of
Case 1:16-cv-01364-JPO Document 17-1 Filed 05/24/16 Page 23 of 45
     Case   L:L6-r )1364           Document               1-3   Filed     O2l22|       Page 3 of 8




                                                                                           OS'I C¡so   #l l -9350


                    Durìngthe cousc ofthlg fovurËe¿tiqå, it r,/a¡ diicpvú¿d üat6o $ondcc p:ovtilc
             ¡a¿ norte¿¡    þ¡nt du¡ine $tí¿cot Xiamu¡ ipB ¡Evbw, ¡¡rccord-toAto lt Tlieber,
                                                   Shúnt     IEP wibouù'tho srrvicgptovida'
             Mr Ri¡h;td;s     Stoutd sot-.baræ changcd                    A's
             Fr¡r¡ctionrt Life Aslrir¡vgmetl fnc, bcing ¡xesenL




             $tudìmt A1s IEÞ rc-qralgalion'
                                                                                         rbat l*ts
                    Aildtriand¡f, úrbgthc roursE çf tbi¡ invcs.ligari Þ iJ $'dF"pv.eaÉc
                                                                           gtaþ Rcguladors of tbc
             ¡¡¡"¡ui*o-t"ã riã¡'oiø s-;Èosz0ol(ixil     af üc-Nlw    Yo¡¡
             õ,tt¡sd;*t       of n¿rrCar¡oan¿ Scodù             l+igof    thcN<¡w Yo¡k Suæ Educgticn   l¡rr
             ;hi;úãþs ú"T ',ro tbcãref,r poJibb, *y meeþg of ftecommittce tbp sùall b."
                                                                                        Fl*^$-"
             øe ar¿ t¡ne rrlu+ tv o¡vcoicirt o ôc nsnbGrs o¡ the cdm¡nitæ8 md    ls¡?nt o FtÌ¡e
             îJ"ffii|ä¿-*",            ¡ã.Ur-Ane¡ui¡oltiroig b       w.r6tr qf thc evahnor, thç
                                                                         tbo
             iltü;r*õÑ;                      oqihe coonitrcg.or     chairgrsoh
                                                                     rhe  -*t    of-ttæ comnirlce."
                                                                              c¿u¡ø an a'soin¡r¡eqt rrith.
             ÅäfräiäiñiËb;r;ñ{*                      RñÑdroo'u.s lo h",r.
                                                                                ¡rqul IEP.¡cYic*
             il;rh.;À:.; ; muuntty           agrcc¡bte detqfo¡ $tndeût .1,s

                                                          BACKdROUilD
                                                                                   rg'Ealc¡l
                     Oú'   Jdö.1i..2d1å'ascuú ofrtioDupurtmuatof F¡hcaúods d!úblÑs
              u"tn"Jilärlr-rù.t"¿-üq¡tr*it"çp                   ilroa¡ULcstofety'pËeioüstt cr¡bdÁûtitiFd
              allègÊübn3.
                                                                                             Br¡¡tau
                     OE Juiüi    tt,   2013;Tèch¡icíao Edbll Now Yort GiF Põlicc Dc!ütncst'¡
                                            úUq i"di*t"d d* npæo¡r¡c Ripb¡rdson doc¡ 8oq.b3)ç
                                                                                               s'
              .f cdrí;;ü"r¡Ë;i¡;;
              ctininaÌhisrory.




                                         clil¡¿lrt   6a
                                                     Èf $..Ët Eí.dtÊir
                                                 lorrÊ'¡mürtt rtr Eil
                                       ú$c¡o rcrr,                   I

                                        rrd¡¡J.n¡ r¡ ¡d¡r r¡i ?lnrt líf
                                                     4-
Case 1:16-cv-01364-JPO Document 17-1 Filed 05/24/16 Page 24 of 45
     Case 1:L6-e 11364 Document l--3 Filed O2l22I Page 4 of 8


                                                                                                                               I
                                                                                                                               !


                                                                                                                               t


                                                                                                                               I
                                                                                                    QStCace#11'9J50            I
                                                                                                                               i
                                             RESt¡tTs oF nwßsnG^ÀTION                                                          I

                                                                                                                               I

                                                                                                                 vlâ
                 t!ì{ovê'0bc[.201l,Irivcig.gslb{sçt-Þtq{ç*.s rtrc..&uovirisíndivirqflg'
           ÞlEFb!Ë, reg¡tüing thå d{æúuünglbc20l È20 I l'scÂ@t Fân

           $n McDomtù         ExcdtrÉvË       l)¡t'dôr co'¡¡tttæ           op'spedrf Edhcâtlon:

                   Qa Ñsvèrnt€s 4r-20f L        l¡rycditpor8Ed i¡Ñcil'vì!fllú¡'i¡'             ¡ú     McDonrtE
           greq,¡úr:iÉirçtó,.Coñroit¡i¿;nsú,çtp¡"q,¡g'sbc,snrcathr'gg.g-shut
                                                                                              Næ¡Yot'<
           õòi.ítõi,-'lrir i, ijti'içË'iæ¡¡¡i'pä¡irt of À'cvgclov ft*t5 S*9             ln   a telcplronic
           City, hforsad t", t¡o, rtlãñ.r'Àfiäqtb¡ÊdÈ$So          UaO ñot  eargqpted
                                                                                                Ms'
                            wíú t\,!s. Rtç.tùad*" tÉdfuri! su'declt A's a¡¡rr¡al IEP Ë'ilqrr-
           Mcboo¡fd oçlaiucd É"t;l 6, f.,tn
           "-,iiíËãolãctrf                         ät¡u.à''e',¡lAffi;f        !E   m;--'ch-tcil'       M$.
           iüi-iffi"    ¡ü;tÉdï+i,        *-3 Ë  nrOËo À't  se'lf qnd  [,f¡ MoDönald     fi ¡û¡cr

           äffiätu Ë öîr;häil"r"Ë.ñÑñÉ*r       æì¿il;-t co¡rc"eÁoe cult *tti'
           .lr,iiih* A .ng r¡"t s¡.ónbcùaFof "Moó¿i ê"
                                       ha4 3iÊPsd .ürc fümr

                  Mc McDoùntd           then oatlpd.ügl.   t-o   rçpo4 tr4r, Treibct's altçgation agaiçst lyfs.
           nic[ard¡on

            Mbthci¡U.




                                                                       l¡lo$ccA     also rerh¡esr¿d   Ë$         A'   bc
                     As +   te+¡If aor¡¡d Now+bsr,2q             10,                                tdcol
                                                                                        æcotwd a repþ'Êoo lhc
            .e*".¡ntuã,', ñüet ctq6ätåblilt !t'r.tíC e, fuo ng\nt
            cr$E".




                                                                              $udcor ¿ s tX'P
                     Õn .hS 5, 201l.Moúa'A dæd ÊEt rüanceiræil s tr?w cryv'of
            É.q Mr.    irÑ;¡so,* i¿Ä.&t              üæ i¡'
                                                   tti ¿i¿ nor h¡yp a tslqplonio.com¡cnalio¡

                                                                 rüú¡    úu l¡rtdlptfrre.if   a"
                                                                                                                       r'lq'
                                                                 ¡ir¡rctr ¡'¿ z0l   l,toor'
                                       crda¡¡oe¡dld¡ brri.IiÊ
                                  e¡   c¡r iå -'r¡'¡ mr¡3úti lY lnol
                                       Î*t¡d¡ tt          t! ttt4ttßl
                                                 'rt¡*
                                                     -3-.
Case 1:16-cv-01364-JPO Document 17-1 Filed 05/24/16 Page 25 of 45
    case l-:1-6-c ,L364 Document l--3 Filed o2l22l1 Page 5 of 8




                                                                          .                 OSIÇäscl[11-9S5Û
                                                                        tl¡s'tshibd jt¡st
          rylú            Rte,bdgæ q¡ ¡upc28'?0ft'-¡qfåf: MoiñcrÀùsLiþd

          ffi1ffi
                 lirls.

                         #*inrn;märyJ''*5r*iä:HffiL
                           I
          iä ffiffiåGio,                 trcr    to rpccicc ¿ddirlon¡l servi¿.eå.

                                                                          Trejber   tbrr drrtþg óe  201 G20 l I
                     !o sÊpr'Ehcr z0r l, Motha       s rcgos4,tô,tr
                                                            Sot¿ät l'i                IE'P d€çPítc bcr i¡sistctrcê
          schol rqr¡lho CPSE bad ncglcxxcri til ¡ç+valugtÊ'
          ã¡d úEiqf         tþ   ecwicc Providar.




                     -0nNor¿nbcc.Ío'zoti,¡¡tst¡atoisic.tla¡".,i"w€õ'.Mr.cfuirtÙpútfTldbct'
                                                                     s¡aied tbç¡' in Sepppbç
                          Sdñ-ö'llrñlÑi* v?S.citt' Tlc
           Di¡cctor sf Adu*"o,
           ;órî,;d,F}."."tii'til;""Ë,*ffi
                   Éodc¡n Ä bc ß€wtuatÉd ín'ordcr
                                                  o å*JËffi,ï"tf,l.ä**lfu,
           ñ;d*,,b"
           sËrvlct'$.




            prËtËüt

            I4¡a Sa¡acusa CÍSE
                                          ¡døl¡¡itr¡ion

             h*d,*å:i#l g eáññu'o*i"cs,ril                          ltm   ã   çn"¡ot''to Inræstis@¡    s$Eôt
             scùool Supcc+ioo                                  4ñ.ruiriø                 eoúI   oãì{¿* Yort c¡tJ
             f¿tins ftår lifs. uisa     sa¡aääðäiôrfiÉ*oç
                                                        æ acct ffù yor¡' of6cc¡"
             DèDttB€nt           cif nou"tso¡äi¿ùãl*¡tl

                                                    on Spedlal   Edlc¡üo¡' Ch¡tr^ÊrÙirï
             G¿r¡r¡l Do¡esil. Cós"irittÈe



             wnnru,mwrumm,mmmw
              ¡erticul*ce*
                                                                     CÊ¡lûr¿f 5¡r"ice¡,   h¡¡c¡cvcos¡*[ sf

                                                                     çFmtrc:müttiedvefic'
                                          ôflttrw.ts.å¡brtrdç
                                       ¡¡6¡                        Uül
                                              5. røil¡'Ítütr' to?tült
                                        liarroqt$  ¡ril4 Fú t¡ttrt
                                                     +
Case 1:16-cv-01364-JPO Document 17-1 Filed 05/24/16 Page 26 of 45
    Case L:16-r )1-364 Document i--3 Filed O2l22f Page 6 of I




                                                                                                                     OSI Cacc #l l-9350

                      Ec a*¡cwþdccd tb¡' ifa pa¡eotreqr¡esþ üæ his o¡ her child's.S bc re'
                                                                                        dav¡,
               .""1*t d--d;TËiîÃ.¡n¡rt"tt*ias to apþtow or tcny tbt reqges wiü¡io 3lJrvould
               ðT;ö;"*4 iñ,-rt,drti;r"i¡    rr"i t" ti t"3¡a¡¡adE¡rd   a¡ ier ticcuqs        be

               ¡.rå to'¿oær¡i¡ia wht¿illitional.srlicçg nçutd bc rcco,î¡rnc¡ded.

                                              hat'drrt¡rg agaruuallEP æviçs" the Çe'S.8.11úffi
                                          -säiõ
                          Heâlso.achowlcdgcd
                and th! sÞec¡ai      å,ãto"                      bepreseot A p{teot ie edclsd" via
                                                                      fioU$tt';
                                                            'tho  pa¡cnt has s cholcs to dbnd in puson or
                t tæt, oäri" ¿"t" of Ûro"onu"t ¡gÞ rcvio¡l'
                be grcsrotd¡iting a lclcpbo¡rìc confcrcqce aqll

                                                                                    0-2!11 æhool yaar'-tbcæ q a lot þf
                                                                                                                'as
                           Mr. Doægan shted                    thaq du¡j¡e tbc 20     t
                                                                                                                    to &e
                n o,ô;¡.'úÞ qFse                     ogiJË                   &Ç ¿t O* me; Ms. Rilhrrdgon   t'/s,ncw
                ìob. the crrvlroo..ot't*                     .Lot","r¡e
                                                                     O"i*it*¿             was   bilt¡   ¡nd this crisc nr¡sf bavo hJleo
                "tlnåu
                         gh ths. cracks.
                                            I   l

                {&Eoro'ltçt¡oo,
                           onÑovtmbct2g,2Ùll,favestigqlqrsÞel!ÓtífigdM9.Rirhuþo-th¡it5he,r|'â.q
                ot r,{bjä ;îdhtr  i*ifl¿tiü efrer ú""¡ng vls..Ri'cha¡dsocwith a 48'Hsu'Noticc'      anyone at
                                                   t" Ai¡.,¡* Aõ da'aili of rhÍs invcçtigatipn with
                 shc wdÈ e.tplioirly ¡n¡u,r"lr¿,i,ior
                 tbe tocatioñ of rbi alleged l¡cidc¡l oilte{ üan her'uqi(n nÐfcqenbtr/o'


                 ßosoo¿rie Blchnrdson. CÞSE adniPbtr¡ton

                            O¡Decerntrtrl6,20ll.M*RosemuicRtuhardsgü'-cPJEadmlsishþr'
                 appear.ed   at0St and inÞrv¡ewcd is ü:cprecncc of PhyU¡s w¡lllâms'u>'a
                                                                        i¡cùidso"         sraa¿   *fu s¡s   bsgEn   workbg at'ÇPSE ln
                 Rcprescotatiw. et,r,"t t¡*¿r'fr¿"
                 Demuib¿r2010.
                                                                                                                 to ocpldin hcr
                            Whea qoc$ioned, Ms Rlchardson was very                                lruiyc anA¡fusal     Ms'
                                                                             fitt pte""nõA   strdcnts'   Furlhcuncre'
                 ,.*po*iUiUU."-          -¿ t¡.       "lÄã'ñ"*.                   -Ái,
                                                                                       ..rr,           that she was riot familia¡
                 Ricbardson dlO o",                 tw¿iiäl¡iJ           Stu¿åi              e¡¡d said
                 witl¡ $todont A or Moúsr                      .{'
                                                                                    s                                     copJ   of
                         Þurbg rhe Interieq Invq$çafor-Sæ9.!$9*¿ ¡¡5' R¡chrrds@
                  Stud*t-its-Ëfl d"Èd
                                       jõiq'zolí,   aoa 4ttcd   'Ti¡ral NoticeTrf
                                                                        a*oovircdgÊd úsr shê had
                  Rcdommeùitatio"/À,l"d¡äätä;ilsË¡ rø* !r¡.r**u" not recall i¡nil¡ccifics'
                  6üed it out a¡d üat                il;'ä;;.hsr
                                                  s¡gnetùq u,lt *ut¿
                  trrl"dü-ü" ¡roþa t"ic*nr.rrp" eu "'iu MotåÀ
                             V/hcnq,qçd¡onc.it¡b.outYrbysqq'.tA,ssrvícc¡rovr.dcthadnotbccrrprescnt
                                                                       of foc scnicc Wyldçr *eç rcû'
                  dr¡¡inåùat¡¡eeu"gr¡". il"üni *i tc ;p"tt*                                                     phryldèdto be absúf't
                  blânh \ts.:Rishã&", ;ruä-ttù¡î¡ol;-ór"t for
                                                              cscläac
                  druircmlEFncqË¡.                       g


                                                                                      th*ço( çcrr di¡act'guotes'
    lr tir¡côtii¡tst Stcbl'¡noþe   fil   ¡rd¡i¡fli{ifs rrl¿tlulhesc.tÚqp¡m¡, øpttlonr
                                                         crñúr Er      d$!.q¡¡lÑ{|llfË'í
                                                    ds   c*r ¡a -r¡ontiz' rñüÊ ¡lY t l$l
                                                         r.hgtiilåìlr t tûq t¡Ètlr ?i!t rtl|
                                                                        J*
Case 1:16-cv-01364-JPO Document 17-1 Filed 05/24/16 Page 27 of 45
    Case l-:16-r 11-364 Document 1-3 Filed O2l22li Page 7 of 8




                                                                                        OSlCasc#ll435t
                                                                                                   'to
                lrtr¡ Rlcb¡dmn woqld ncltüã co''fi¡ro mr dcoy whclhcr i[rras $-fglicf
          arænot lo rir¡cc¡r¡nodafe ¡ pa¡çot ö ¡l¡qC ån IEP nac&fg i+ pctitdn' is&éi-üat Ê
          ;iöñ;;-rt.Ãñ.-Ãacgomlv,shccouldnotsa]*4e.t'".$:-Þqioc'¡EËttcd
          ;t'frtq¡"prs. t9             À, -drúth. ssqvicq Fovid€ß beft'lc1þhedplilg tlo Juitê
          29t20ll trlP     "o¡a*niàrüæ
                          nËûrüng.
                                                                                   '8   rt¡¡é is'tnn¡enç0
                 Me Rtcüa¡dffi r¡is ¡ot    dble ût 8füõ|¡rC&|- Tehâf ÖcbtfBìNbsÉ
                                            t tosponsibifirics of fbøne*lv
          d"- gfrñFg"düiË"-u.¡otiooaf¡".or *b"t
          ä,äö'ö#õõ6]k ù;;.,,¡¿¡. yt- *t= ls brssr€'.ü.asdgsed    Rhbddsodðid:
                                                                     t Studcnt ¡q-
                                                                                   ¡v1s.

                                     ert
          ã'ã;X -û"rúUs. S"à"*:w"r,Ui qæsCpþÉ $n¡üttt:atü
          ü;. Rl.t".d*"                          l'il' $uaopge'
                            a4riat¡cc¡n rcpgvpg a¡y           fum
                                                                                 ycar, tbcrq $fs*
                 .Ms:.Ricbudsotr a*norvledgeil that, duliDg thc 20 t0:2Qtlschoot
            om**¿'op     ót*,                     u* ¡æoçyi¡nctuaqs M"' {açðtço¡cti¡ine;              qç a

          "
          ¡csulL'tHügs \¡r€r€''\Èry"¡ir*vptãt
                                     ùhaciüc,*

                                                                                    in
                     Riúûdsor¡ ifsdl¡il tddalviög Mothct À'$ téüd sd'ti¡sÊ€d to lier $eþtenber
                  lvlg.
          ¿0f i, er¡Jrft¡r frvts6gn6r srcei¡hol¡t¿'b¿r tooly  ofsa¡d lcttct'
                                                                                           to her abod
                  Ms,'Ricliailsorn dc'0iè4 lFlt l\/[r'Donc¡ag,.ler supcnrisUr, iird spokeu
           Motrc A's comPlaiuï.
                   ì.ltr Rict¡t&oû donled'unilatrrrþ ch¡oging STrd:otl': tPll |-Glrygsolely
                                                                                               on
           rhe facÉ tbâÍ her'siee"h,ri'õpo*dîn s¡-iOent À's ryf, M$
                                                                        Riggqg {aimed     ùat'
           ;ù;rsb it tl¡as ¡":t oo"csãii to fovi ¿ senige gtvidci p¡esc.it, Mo'ú€r Aluid bæo
                                                              tu*' ¡r¡ch"d'o" .,þBþ'd ùat ele
           n*äi ¿ ;;r."ore'c,;,oú;1ÇitÏ;toä' htd                   odóur1"¿ witbM.ttbrA if tbrd
           wustd nqtbave n¿i".rc¿-äñ-rulo"O"itticeo¡ll
           notþ¡tÈnal.
                                                  concl,lrgtcN
                  Ttc.alþgF!¡ontbàtBslFq$iqNqbdsoa,cPsEAdin¡¡îsùttor,ålscly.-
                                                                       resiew-of
           ¿oqøc¡rei}¡î nl.U* nË¿ ilirrii¡p."d, ti" iolccriofcroncc, in lhc rnnual
           Sü¡dent A'q Im on June 28, 201t ir ¡ubttutírtcd'
             ',ttsallcgg6o¡&gtl¡ss,ouleRlcl:s¡dsoû,UPgp Adû¡ittEù¿toËñ¡lêd úGoùtt
           gt r¿*r À;r rrñ* p*"iãã ø s.t .¿U" tno æp rwisw aait lo æsr¡c lbc ¡crvlc¿
           !ÑË;       p.¿*" '¡ntù fr¡.*"t fEP rvlar on ftmc 28, 2ôl I b 3llbsh!il¡td'
                                                                                  fsiled o cootsct
                    Ihe.ellcgation thrt Rossûruic RtchÍnlsoir, cPsE adúinbÛr¿tot'
                                                                                  anend thc IEP
           ¡úoter À L;Ëdolc ts-liæ ¡ev¡st" e¡rl b crrg¡rg &al Mqtbcr A
                                                                            could
           rø¡ic\i' is strþ¡l¡nti4ft d.
                                                                                 åIed            to   fotlow
                    Ttre Ethg¡tipqth¡t RqæmadqRiúFÉf-+ CPSQ'Adph¡stator
                                                     NYS nègutartoos aod Scctio¡ 4410 of
            rlÈ d¡o'cli;;;'dÊriËù"izilo.te'oitbc
            Erlusation L$# .Áfüctc 89 ls ¡ubtt¡ntietcd'




                                 oú*b&qF¡¡fiæ¡f ha¡¡tu
                                $CðrtE(.tmt¡r,.0qtd* {f t U0!'
                                 ¡¡ç¡c rù ¡C¡¡& tE ?ll ttl lßt
                                             4-
Case 1:16-cv-01364-JPO Document 17-1 Filed 05/24/16 Page 28 of 45
    Case   1:l-6-1 11364 Document l--3 Filed O2l22f Page 8 of 8




                                                                                OSIqsÊ#tt-9'150
                                                                                      to ttTPçqd
                   Ttc ¡llEgstío¡   Éat Roççads Rf¡hsdson' CPI¡E .Ldoin¡sualoq ûuled
           ç toqn"qrrqãd'[,foù; Åã¿ *p.qv¡cc fravldir       to ohsrgg Sù¡&nt A's lB,F ¡s
           clrb¡l¡¡dlod.
                                             EEGOún! 'ì{DATIO¡!

                    tr tsôeùtdrúE¡úd¡uon sf lH! pfEpo fDú R¡dåo¡dcebùadsa¡ tdþleccö        ú
           tU   lncftgíblu Usl a¡d¡otbo.coÉldcraðfor ûrtuc @loyncttwithlto DOR




                                                                    Mfi¡¡E![ITED¡l¿t



                                                                     fr¡ülcúidlnvasûgs.er

                                                                      APPROVTJIBYS


                                                                6uq
                                                               $"ffi  DhccfoÊ




                                    O;eÈr.!OllootÐ¡+
                               6s   triu,r¡or¿' ü{n xf ll¡lt
                                    Iti*nrfil$Ètu?¡lßtJFr
                                              .J;
Case 1:16-cv-01364-JPO Document 17-1 Filed 05/24/16 Page 29 of 45




               Exhibit
                        664))
  Case 1:16-cv-01364-JPO Document 17-1 Filed 05/24/16 Page 30 of 45
      Case 1:l-6-c L364 Document l--4 Filed A2l22l1 Page 1- of 8




              l¡w   Orrrces Op

Nenr H.             ROSET{BERG
                                                                                      9 MUNNAV STTEET
                                                                                        sdm4 wesr
                                                                           NB¡/ YoRt{, Na,v YoR¡( lOOoT-228I
                                                                                         ..__-
                                                                                 TELEPHoNE (2 1,2l 7 32-9
                                                                                            ¡               450
                                                                              TEr¡copm: l2l2)   57 L-9895
                                                                              neal.rosenberg@nyedlaw.com



                                                               September 29,ãOLs



Mallory O. Sullívan
First Deputy D¡rector, Office of Personnel lnvestigation
Division of Human Resources
New.York City Department of Education
65 Court Street, Rm 200
Brooklyn, New York 11201



Eear Ms Sullivan:

         ln furtherance of our attempt to permit Ms. Richardson to be employed with either the
Department of Education directly or a vendor to the Department of Educat¡on we submit her response
to the allegatíons against her.

        please be reminded that she never saw the report dated August L4,2OL2 until ypu kindly
provided lt to me.

         f tha nk you   for your coopention in this rnatter,


                                                               Ve



                                                                    H.    berg




cc:   Rosemarie Richardson
Case 1:16-cv-01364-JPO   Document 17-1 Filed 05/24/16 Page 31 of 45
     Case 1:1-6-c rl-364 Document l--4 Filed O2l22l1- Page 2 of I




                                Ms. Rosemarie Richardson
                                622Ê,ast20ù Steet apt. 9B
                                  NewYork, NY 10009
                                    c.646-3694001
                                    roerichT@aol.com


September 21,2015


Law Offices ofNeal H. Rosenberg
9 Munay Street
Suite 4 West
NewYork,NY       10007-2281
t.212-732-9450
neal,rosenberg@nyedlaw. com

Dear Mr. Rosenberg:

This flawed investigation has desftoyed my career in the New York Cþ Department of
Education and resulted in significant financial losses and irreparable damage to my career
and reputation. The net result ofthis flawed investigation was to experience a harassed
and intimidating work environment. As a result, of these tactics I could not continue as a
Department of Education (DOE) employee.

The OSI August 14,20l21etter of this investigation was lost by the DOE, and I had no              ¡
                                                                                                  i
chance for review. Also, the investigator by asking detailed questions and denying me
access to the case, documents, CAP and timelines involved in the investigation never
allowed me to seek accurate answers or the truth. OSI's intention was only to liable me.      j
As further proof of their refusal to cooperate with their own investigation was their sole q
reliance on third party gossip rather than doing true investigative work such as checking &
DOE phone records on June 28,2011 to conectly determine if in fact there was a DOE            i
phone conference between myself and said Mother A, or if the patent was lying.     The     ,)¡
failure of OSI to do this taints their "investigation."

I will now cite the specific concems over this flawed investigation:

In reference to the Division of Human Resources, Ofüce of Personnel lnvestigation, OSI
report dated July 28,2015 found that my security clearance is denied due to my adverse
employmenthistory withtheNew York City Deparnnent ofEducation (DOE). While
employed as an Educational Adminishator for the DOE, I was the subject of an OSI
investigation on December 16, 20 1 1 . This report found that in my position as a
Cornrnittee on Preschool Special Education (CPSE) Administtator, I failed to follow the
timelines under Section 200.16 of theNYS Regulations and Section 4410 of Education
Law Article 89, I failed to respond to the request of both a parent and service provider to
change a student's Individualized Education Plan (IEP), I failed to cantflct said student's
Case 1:16-cv-01364-JPO Document 17-1 Filed 05/24/16 Page 32 of 45
     Case L:16-c 11364 Document 1-4 Filed O2l22fi Page 3 of I


                                                                                            2


molher and service provider to review and ensu¡e that they could be in attendance during
an IEP review, and I falsely documented that said mother had participated, via
teleconference, in the annual review of her child's IEP and never had the telephone
                                        'Why
conference at CSE on June 28,2A11."          has OSI never established a timeline for the
case as a whole nor does it share timelines unique to CPSE Administrator Lisa Sa¡acuse
or myselfl The complaint and investig¿lisl hinges on one case, and one meeting that is
blatantly biased and without proof assumes that Mother A and Christopher Treiber,
Director of AIIRC are correct without corroborating documentation.

ln response to both the OSI letter dated July 28, 2015 and the OSI letter dated August 14,
2012 (of which I was never mailed a copy, nor u/as it placed in my personnel files or
archived files but only secured through the Law Offrces of Neal Rosenberg by email on
September 5, 2015) from Division of Human Resoutces, Offrce of Personnel
Investigation is the following:

How could I have failed to follow the timelines when the case was originally opened with
another CPSE Administrator that I was never made aware of and the timelines referenced
in the letter dated August 14, 2012 is murþ? If I were to prepare for an Impartial
                                                                                 ooaround
Hearing I would make certain that I knew the exact timelines and not cite
September 20lI' as a hard date. This vague and uncertain language could not be
defended at an Impartiat Hearing yet it was used to destroy my career!

How could I have failed to respond to the request of said Mother and service provider to
change a student's IEP when in fact an AR2P recommendationby definition is a change
to the IEP?
                                                                                                'i!
How couid I have failed to contact Mother to ensu¡e her attendance during an IEP t""i"*
when I had to have a prior conversation with said Mother to obtain a phone number to J
hold the meeting at a specific date, time and room wifh DOE telephone access at the I
CPSE office before the meeting commenced on June 28, 201l?                            trd
How could     I have falsely documented that said Mother had participated, via
teleconference? OSI has alleged fraud to my reputation. An OSI allegation stated I
unilaterally had a meeting with myself and falsified the IEP document. OSI has failed to
investigate this allegation with no apparent investigation of the DOE telephone ..- {
recordings made on June 28, 2011 from a DOE telephone I conducted at CPSE with said l
Mother. Why did OSI suppress it's own investigation by not checking phone records? i
Incidentally, Mother A was urgent to have the meeting as soon as possible and agreed i
                                                                                         *
prior to háve the meeting oo tl" phone with a T for parent signature due to her busy '''
schedule as a doctor with a new position.

The OSI August t4,2}Izletter wrítten by Ms. Bera¡dino stated, "Mother insisted that
she did not have a telephone conversation with Ms. Richardson on June 28, 2011. In fact,
Mother A insisted that she had just changed jobs at that time and could not have been
reached by telephone. Furthermore, Mother A was adamant that she would never have
agreed to keep the same IEP when she had been advocating for her son to receive
     Case L:I6-, )t364 Document l--4 Filed O2l22l" - Page 4 of I
Case 1:16-cv-01364-JPO Document 17-1 Filed 05/24/16    Page 33 of 45


                                                                                       a
                                                                                       J




additional services." I absolutely had to have had her teþhone number to reach said
Mother to schedule and conduct ttre meeting on June 28,2071 by DOE telephone at
CPSE as requested by Mother which was to change agencies not increase her child's
sewices on June 28,2011. Incidentally, - AR 2P is by definition a change to the IEP,
therefo¡e Mother A never kept the same IEP.

In the OSI Augrut 14,2Dlzletter, Ms. Berardino wrote, As a result, "alound November
2010," Mother A also requested that Student A be re-evaluated. However, according to
Mother A, she never received a reply from the CPSE," It should be noted (inconectly and
in contradiction to the CPSE SOPI\O OSI called this an annual review rather than a
requested review. OSI should have understood that the parent had an existing IEP and
was seeking a modification to the existing IEP. Consistent with the CPSE SOPM this is
referred to as a requested review. Regrettably OSI confused an annual review with a
                                                                   o'around Novembet"
requested review (inconsistent with CPSE SOP\,f). What letter
2010? What date was it written? What date was it received by the CPSE? Why is the OSI
timeline so blurry? In the OSI August 74, 2015 letter, on page 3 is not "around
November" rather vague for a timeline OSI is accusing me of being out of compliance?
When in November? Was it November I'torperhaps November 30e?

ln the OSI August 14,20l21etter, Ms. Bera¡dino wrote, "Mother A further stated that, in
April 2011, after several attempts to reach CPSE Administator Lisa Saracuse via
telephone, Ms. Saracuse informed her that she was no longer Srudent A's CPSE
Administrator, but the case had been assigned to Ms. Richardson. Ms. Richardson did not
retum any of her phone calls." What date and what time is OSI citing? Apparently OSI
did not consider that the case was sha¡ed between two Administrators and failed to
determine the date the case was transferred- Mother A stated I could not retum any of het
phone calls because she had just changed jobs at the time and could not have been
reached by telephone. Did Mother A not have a home or cell phone? If I couldn't reach
her by telephone how could I have scheduled a meeting she alleged I never had? Agan
OSI could never determine if the parent was telling the truth because they refused to
check the DOE phone records on Jwre 28,2011. The bias of OSI to blatantþ accept the
Mother's word and suppress its own investigation suggests a conflict of interest and very
questionable practices.

How could I answer questions at the OSI hearing conducted on December 16, 2011 by
investigator Steel, when not only did I not have access to the ofFrcial DOE file on said
student and d was never informed what the meeting was about or who was in question
until I arrived that day u/ith CSA rcpresentative Phyllis Williams? I was told by
investigator Steel to answer detailed questions based on no information whatsoever I had
fo¡ a meeting that occurred seven months prior. OSI asked me to answer detailed
questions about the steps leading to an IEP meeting and possible IEP participants based
on a complex sequence of events (timelines) between two different CPSE Administrators,
Lisa Saracuse and myself. OSI refused to cooperate in their owu investigation by denying
me the opportunity to have the ofücial student records, documents, CAP access and
timelines of events that allegedly occurred between two different CPSE Administrators.
Did OSI seek factual answers to their own investigation?
Case 1:16-cv-01364-JPO Document 17-1 Filed 05/24/16 Page 34 of 45
      Case l-:16-1     1L364 Document l--4         Ftled   0212211 Page 5 of 8


                                                                                           4




Furthemrore, the July 28, 2015 OSI report stated, "You were given the opportunity to
review the above information with the OlÏice of PersonnEl Investigation and to provide
inforrnation in support of your application during your review, conducted on 712012015."
'Ihis is a blatant falsehood and should be investigated. I was never given an opportunity
to review the     above infonnation (\[¡hat Information) with Office          of   Personnel
Investigation nor any inforr¡ration in support (What Information in Support) of my
application (What application) during my interview, conducted on7120/2015. I was never
even in possession of the August 14,2012letter from OSI written over three years earlier
nor told why I was "InEligible" status or given a reason for my required âppearance to
OSI on Júy20,2015.

In the OSI letter dated August 14, 2012, Ms. Berardino \prote "[n Septernber 2411,
Mother A reported to Mr. Christopher Treiber, Director of Advocacy Services, AHRC
New York City that, during the 2010-2011 school year, the CPSE had neglected to re-
evaluate Student A's IEP despite her insistence and that of the service providers." Did
OSI not rcalize that snrdents a¡e evaluated not IEP's? Who has the due process right the
student or the IEP? Was Lisa Saracuse assígned Administrator at that point? What letters
were filed for a re-evaluation? The meeting I held with said Mother on June 28,2011
three months earlier was a requested review by Mother to change agencies, there was no
mention or tetter acldressed to me I had in my possession requesting a re-evaluation arrd
additional services. Wherç werethe t€âcher and servioe providers' justification letters for
additional services? What dates were these letters? If in fact there were letters, were they
certified, retum receipt requested?

ln the OSI letter dated August t4, 2072 Ms. Berardino wote, "Mr. Treiber stated that,
under Section 200.16 of the New York State Regulations of the Commissioner of
Eduoation, and under Education Law, Article 89, subsection 4410, the CPSE should have
responded to Mother A's request for evaluation within 90 days, but did not. Moreover,
the CPSE had 30 days within which to contact Mother A and acknowledge the request for
re-evaluation." Did Mr. Treiber want to attend as a mandated participant? Is he a clinician
or teacher? Where is his letter requesting participation? [n what capacity was he a
mandated participant to the IEP consistent with the practices set forth in the CPSE
SCIPM? Did the said Mother or Mr. Treiber file an EV-IP on Preschool Letterhead or
wa$ a C-2P letter ever generated? Furthe¡more, has OSI suggested I violated LRE PL
94.142 by faulting me fo¡ not arranging for unnecessary testing? Why would progress
reports by current providers not be relevant by the CPSE? Administrator Lisa Sa¡acuse
conducted the initial evaluation on said student. What were thc dates of the initial tesJing
evaluations and the date of the initial IEP meeting? Why was the timeline so blurred in
the OSI investigatiors?

In the OSI letter dated August 14, 2012 Ms. Berardino wrote, "Lastly, Mr. Treiber
explained that, in order to change a student's IEP, the student's parent and service
provider must be present. However, neither Mother A, not the service provider,
Functional Life Achievemerit, Inc., was present at Student A's annual IEP review on Jrure
28.2011; instead, Ms. Richa¡dson was the only person present" lihf3 was a blatant and
Case 1:16-cv-01364-JPO Document 17-1 Filed 05/24/16 Page 35 of 45
     Case 1:l-6-r 11-364 Document l--4 Ftled O2l22l1 Page 6 of I


                                                                                          5



false allegation. This \ryas not an annual review meeting but a requested review by the
Mother to change service provider agencies and said Mother was on the telephone with
me. I believe said Mother and Mr. Treiber are confusing the reconvene meeting with an
annual review. OSI took Mr. Treiber's word that the service provider must be physically
present to make the IEP amendment valid. tn,fact based on the ach¡al parental request at a
live meeting we were able to correctly arnend the IEP.

In the OSI August 74, 2012 letter Ms. Berardino wrote, "In            JanuarT 24, 20t2,
investigator Steel interviewed Mr- Donegan, Committee on Special Education ("CPSE'),
Chairperson, at OSI, in the presence of Carol Atkins, CSA Representative. At the time,
Mr. Donegan stated that he had no information about this particular case. In the OSI
August 74, 2012 letter on page 4 Ms. Bernardino vwote, "At tløt time, M¡. Donegan
stated that he had no infonnation about this particular case." Yet in the same OSI letter
on page 6 Ms. Berardino wrote "MS" Richardson denied that Mr. Donegan, her
supervisor, had spoken to her about Mother A's complaint." This is a false allegation and
contradiction in acousations to my credibility and professionalism by Ms. Berardino.
How could Mr. Donegan have spoken to me about this case when he in fact knew nothing
about it himself? This is another example of OSI's false and outrageous allegations.

In the same letter, Ms. Berardino wrote, "Mr. Donegan stated that, during the 2010-
2011 school year, there was a iot of tunrover in the CPSE office. He said that, at the time,
Ms. Richardson was new to the job, the environment was chaotic, the caseload was high,
and this case must have fallen through the cracks." See footnote 13 "Investigator Steel's
notes did not indicate whether these statements, or portions thereofl were direct quotes."
Nevertheless, the statements written by Ms. Berardino, who replaced investigator Steel,
were Mr. Donegan's absolute answers.

In the OSI August 74, 2012 letter Ms.         Berardino \ryIote, "When questioned, Ms,
Ríchardson   was very  evasive and refused to explain her responsibilities and the refenal
process for preschool students. Furtherrrore, Ms. Richardson did not recall handling
Student A's casen and said that she wâs not familiar with Student A or Mother 4." OSI is
contradicting itself because they denied me the ability to answer their questions in detail.
Thjs was one of a thousand cases handled seven months prior to the OSI investigation of
December 16,2011. How could I possibly remember specific details for every case I
handled?

In the OSI letter dated August 14,2012 Ms. Berardino wrote, "During the interview,
investigator Steel showed Ms. Richardson a copy of Student A's IEP, dated June 28,
20II, and entitled *Final Notice of Recommendation/Tvlodification of IEP. Ms.
Richardson aclnowledged that she had fillcd it out and that it contained her signahre, but
could not recall any specifics, including the alleged teleconference cali with Mother ,{."
This is an outrageous allegation. I did in fact aoknowledge my signature line and
explained the T was for telephone conference with said Mother conducted over the phone
who in fact gave me permission to sign with a T prior to the meeting. I never said I could
not recall any specifics, including the alleged teleconference call with Mother A. If my
signature was there and there was a T for teleconference call I conducted the call with
Case 1:16-cv-01364-JPO Document 17-1 Filed 05/24/16 Page 36 of 45
      Case L:1-6-c     '1364 Document l--4          Flled   O2l22l1'   Page 7 of   I

                                                                                            6


Mother A's permission to sign a T for a DOE telephone confe¡ence at CPSE on Jwte 28,
2011. Why didn't OPI investigate the DOE telephone records on June 28,20tI?

In the OSI letter dated August 14, 2012 Ms. Berardino wtote, "When questioned about
why Student A's service provider had not been present during thæ meeting since the
name and the signature of the service provider were left blank, Ms. Rjchardson stated that
it is not unusual for a service provider to be absent during an IEP meeting.'o This is a false
and unfounded allegation. I never would have made such an outrageous and erroneous
statement. If a requested meeting by a Mother was to change agencies it could be
conducted over the phone and a service provider could be prcsent or reached by phone,
but not mandatory. If it were an annual review (which it was not) of course service
providers would be present for the meeting as stated in the CPSE SOPM-

In the OSI letter dated August 14,2012 Ms. Berardino wrote, "Ms. Richardson would
neither confirm nor deny whether it was the policy to attempt to accornmodate a parent to
attend an IEP meeting in persor¡ rather than a telephonic conference call. Additionally,
she could not say whether she had documented any attempts to contact Mother A and/or
the service provider before scheduling the June 29,2011 IEP meeting." OSI is incorrect
when they refer to the IEP meeting being held on June 29,2011. The meeting was held
on Jture 28,2011. This is an outrageous allegation. It has always been the policy to
attempt to accommodate a parent to attend an IEP meeting in person, rather than a
telephonic conference call. Of course I contacted Mother A- How else would I have held
a DOE telephone conference on June 28, 2011 at CPSE with said Mother on the
telephone? Once again why didn't OSI check the DOE phone recotds?

In the OSI letter dated August 14,2012, Ms. Berardino rillote, "Ms. Richardson was not
able to articulate what occrus when a case is transferred from one CPSE administrator to
another or what the responsibitities of the newly assigned CPSE administrator would be
when a case is transferred. Ms. Richardson díd not recall whether Ms. Saracuse was the
first CPSE administ¡ator assigned to Str¡dent A. Ms. Richardson did not recall receiving
any cases from Ms. Saracuss." In fact, I did state that CPSE Administrator Lisa Saracuse
handled student A's initial CPSE case and that I did not provide the initial services, she
did. My CPSE Administrative responsibility requested by said Mother was to reconvene
to have the agency changed. Nothing more. I do emphatically recall not receiving this
case from CPSE Administrator Lisa Sa¡acuse. What was CPSE Administrator Lisa
Saracuse's timeline in this case?

How could I have an adverse employment history with the DOE? My career began
working at 65 Court Street, Human Resources with Supewisor, Alice Stasinski. I worked
as a Special Education Teacher, Supervisor ofSpecial Education, Instructional Support
Specialist, Assistant Principal I.4., CSE Teacher Assigned and CPSE Adminishator from
I97l to 20I2.I never had a blemish to my career and reputation and I received only "S"
ratings during the 30 plus years in service wittr the DOE.
Case 1:16-cv-01364-JPO Document 17-1 Filed 05/24/16 Page 37 of 45
     Case   1:1-6-c L364 Document L-4         Filed   O2l22l1' Page 8 of I

                                                                                 7


úl conelusion the OSI Report     No. I l-9350 dated July 28,20t5 and the OSI August
                               Case
1,4,20L2      are allege4 rmsubstantiate4 flawecl and open for legal actíon-



'M
Rosemarie
Case 1:16-cv-01364-JPO Document 17-1 Filed 05/24/16 Page 38 of 45




               Exhibit
                        ((5        ))
      Case 1:16-cv-01364-JPO Document 17-1 Filed 05/24/16 Page 39 of 45
           Case L:L6-r 11-364 Document l--5 Filed O2l22f Page 1- of 1




  DêpártrnéRt of
  Edr¡calion
   i r,,,?.iili ¡:;r.l-)   t: t-1 ^1.,   i;\t,




October 24,2475


Rosemade Richa¡dson
622 East 20'h Sr., Apr 98
New York, NY 10009


Ijce¡sc/'firle,/Position: Specinl Education Supen'isor/Teache¡/Mnnual Ttrerapy Center/ DOE Vendor
A p¡licant IDii: O30367 6
PRP    #:      128,638

Dcat Ms. Richatdsonr

I have reviewed your Septemb er 27,20t5 request for teconside¡adon, received by this ofñce Septembet 30,
2015, regalding the denial of your applicant for security clea¡ance due to advetse employrnent history with
the NYC DOE, and specifically a substaatiated teport ftom the Office of Special Investigations. I have nlso
reviewed yout entire file in considedng yout request.

,{,fter due cousidetatiou a.sd review of your case, I am afftming the otiginal fi¡ldings of your denial' You
rnay reapply for secutity cleafance no e*diet tha¡ twelve (12) moadrs frorn the date of the oliglo l decision,
that beingJuly 28,2At5, and upon receiving a valid iob offer.


Sincerely




K¿therine G. Rodi
Directot, Office of Employee Relations
                                                 ?",-
Division of Hurnan Resoutces PHR)


Cc:
   Neat H. Rosenberg, âttorney fot Ms. Richardson
   6le




                            Ofüce of Personnel lnvestigation   r 65 Court Street o Room 200   '   Brooklyn,   Nar Yotk   11201
                                                               OPll NFO@schools.nyc.gov
Case 1:16-cv-01364-JPO Document 17-1 Filed 05/24/16 Page 40 of 45




               trxhibit
                        6(         ))
Case 1:16-cv-01364-JPO Document 17-1 Filed 05/24/16 Page 41 of 45
     Case 1-:16-c 11-364 Document 1-6 Filed O2l22l1 Page 1 of 5




                                IN THtr MATIEROT'TIIB CLÀIM OF
                                    ROSEMARIE RICHARDSON

                                                  -aga¡nst-

   THE NE1VYORK CITY DEPARTMENT Of,'EDUCATION, TIIE NEIV YORK CITY
            BOARD OF EDUCATION AIID TIIE CITY OF NEW YORK



 TO:     THE BOARD OF EDUCATION OX'Tffi Cny OF NEW YORK AND/OR
         TIIE DEPARTMENT OF EDUCATION OF THE CITY OF NEW YORK
         52 Chamþrs Sueet, Room 320,84
         NewYorÇNewYork 1000?

         OTTTCE OF THE COMPTROLLER OF THD CITY OF NEW YORK
         One Center Street
         ìíçw York. New York I 0007

         TIIE CORPORATION COUNSEL OF THE CITY OF NE,\ü YORK
         100 Church Steet,5h Floor
         New York, NewYork 10007


         TAKE NOTICE that the undersigned clai¡nant hereby makes claim a¡d demand against
 you Í¡s follow's:

              l.     Thc name and post ofhce address of the clairnant and ber attomey is:
                                                                                       CD-         et    {.i
                        a.   Rosemaire Richardson
                                                                                       F=¡         ã     :'-
                             622Ûastzot Street, #98                                                (-<
                                                                                       1>'         !¡
                             NewYorþ NY 10009                                          o-
                                                                                       :''-t :,l
                                                                                                   -:a"ç) ,¡E ¡A1
                             Itkowitz PLLC
                                                                                        =.7
                                                                                                   .." :-¿
                                                                                                       <ra-
                             Att. JayB. Itkowiø                                                    -   .<9
                             26 Broadwa¡ 21$ Floo¡                                                 (¡¡ '-ì
                             NewYork,hIY 10004                                          ,¡t-       f\â
                                                                                                   éÀ 4
                             646 822 180r
                             iitlioç itz â itkonitzcom

              2.     The qature of the claim: TI{E BOARD OF EDUCATION OF TI{E CITY O}-
 NE\I/ YORK A}¡D/OR THE DEPARTMENT OF EDUCATION OF THE CITY OF NE\M
 YOR¡i (.'DOE') deprived Ms. Richardson of her constitt¡tional dghts pursuant to the 14û
  Amendrrent of the United States Constitution and her statutory rights pursuant to the New York
  State Education Law $ 3020-a by subjecting Ms. Richardson to disciplinary proceedings and
  ptacing Ms. Richa¡dson on an "ineligible list" thøeby stigmatizing her and damaging her lib€rty
Case 1:16-cv-01364-JPO Document 17-1 Filed 05/24/16 Page 42 of 45
     Case 1:l-6-c 11364 Document l--6 Filed O2l22l1 Page 2 of 5




and property interests all without the benefit of a hearing as required by the United States
Conslitution and the New York State Education Law.

            3. On October 13, 2011, the Office of Special lnvestigations ("OSI") received a
refer¡al ûom the Special Commissioner of Investigation ("SCI") claiming Ms. Richardson, a
supewisory employee with tenure, had "falsely docr¡¡nented" that a mother had participafed in a
telephone conference with the respect to a student's Individualized Education Program ("IEP").
On November 29,2011, an OSI investigator notified Ms- Richudson that she was the subject of
an investigation without giving any details of the allegations- Subsequently, the OSI investigator
conducted a¡r "interview" with Ms. Richa¡dson on December 16,2011. Ms. Richardson denied
the allegations and was not permitted access to her records at the time and the investigator did
not at any time check the telephone records maintained by the Department of Education with
respect to telephone conferences in an effort to document the phone call that the parent claimed
did not occur. To Ms. Riçha¡dsonns knowledge, nothing ever occr¡rred after the interview on
December 16,20t1- Ms. Richardson retired in or about June or Jrily of 2011. Unbeknownst to
Ms- Richa¡dson, OSI continued to process the complaint without notice of any kind to Ms.
                                                                         oosubstantiated' that
Richardson by decision dated August 14,2Al2 in OSI Case #l 1-9350,                             Ms-
Richa¡dson had purportedly "falsely documented" tlrat the subject    parent  had  participated in  a
tolephone conference on June 28,2011, failed to contact the student's service           provider  to
 schedule the IEP conference, failed to contact the mother of the student to schedule the IEP
 conference and failed to follow various "tirnelines" imposed by the NYS regulations and the
 Education Law. Ms. Richardson did not ñnd out about this administrative action until July 20,
2015. The circumstances by which she discovered this action occurred when she applied for a
position wirh Manual Therapy Center, Inc. on ApiL23,2015. As part ofthe vetting process, her
 name was submitted for vetting for security clearance with the DOE. Her application for secrnity
 was denied and it was not until July 20, 2015 that she learned of some unspecified action by the
 DOE had resulted in her being placed on an "lneligible List." In ñ¡rther investigating the
 circumstances of this event, she checked her file wilh DOE and discovered that no record of such
 action was contained in her personnel files. It took a letter from her prior cowtsel, Neal
 Rosenberg, dated August 12, 2015 to dislodge the offendíng letter documenting the
 adminisnative action from DOE which he received on or about September 9,2A15 in which he
 received the detenninatíon via email from Mallory Sullivan. Subsequently, Mr. Rosenberg
 requested that Ms. Sullivan reconsider the determination in issue via letter dated September 29,
 2015. By letter dated October 20,2015, Katherine G. Rodi, Director of the O ce of Employee
 Relations for the DOE, "affrmed" the original findings in the determination dated August 14,
 2012. The foregoing actions by the OSI, the DOE, the Board of Education and the City of New
 York, deprived Ms. Richa¡dson of her constitutional and statutory rights to due process and to
 defend the allegations before an impartial court and/or hearing officer and the right to confront
 those who accused her of the charges whichwere substarrtiated.

            4. The items of darnages claimed    are as follows: The placement of Ms. Rictrardson
on the Ineligible List without due process has damaged   her by costing her a position with Manual
Therapy Center, [nc. as well as damage to her reputation and standing in the educational
community together with associated emotional disl¡ess.
Case 1:16-cv-01364-JPO Document 17-1 Filed 05/24/16 Page 43 of 45
     Case l-:16-c rl-364 Document L-6 Filed A2l22l1 Page 3 of 5




               The undersigned claimant thercfore presents this claim for adjustment and
payment. You a¡e hereby notified that unless it is adjusted and paid within the time provided by
law frorn the date of presentation to you, the claimant intends to cornmence an action on this
claim-

Dated:         January I l, 2016
               New York,New York

                                                          /¿^*-\     fJ rll.
                                                      ROSEMARIE RICHARDSON
                                                                             ,ÅJþ-^:- -




                                                      ITKOWITZ PLLC
                                                      A         þrClaimant

                                                By.
                                                      Jay B.          Esq'
                                                      26 Brri4trvay, 2lst Floor
                                                      New llork. New York 10004
                                                      (646) 822-180i
                                                      jitko\pitz@itkowitz. com



STATE OF NEW YORK                      )
                                       ) SS.:
COUNTY OF NEW YORK                     )

                The undersigned being duly sworr¡ deposes and says that deponent is the claimant
 in thE within action; that she has read the foregoing Notice of Claim and knows the contents
 thereofl that the same is true to deponent's own Imowledge, except as to the matters therein
 stated to be alleged on informatíon and belief, and that as to those matters deponent believes it
 to be true.




                                                          ROSEMARIE R
Swomto before
This I lth day          ,2A16



NOT               IC
Case 1:16-cv-01364-JPO Document 17-1 Filed 05/24/16 Page 44 of 45
     Case l-:1-6-c 11364 Document l--6 Filed O2l22l1 Page 4 of S




                                 AX'FIDAVIT OF'SERVICE

   STATE OF NEW YORK                   )
                                       )   ss.
   COTJNTY OF NEI'Y YORK               )

                 The undersigned, being duly sworn, says:

                  I am not a party to this action, am over l8 yoars ofage and am employed
   at ltkowitz PLLC, 26 Broadway, 2l st Floor, New York, New York 10004.

                  On the tlth Day of January 2Ql6 ît 3.20 p.m. I personally served one (l)
   copy of the annexed Notice of Claim (hereinafter referred to collectively as "the papers")
   on the Offrce of the Comptroller of the Cþ of New York at the address below. A proof
   of such delivery is attached hereto.

                 The address refened to above is as follows:

   TO: OFFICE OF TIIE COMPTROLLER Or                                OF'NEIY
          One Center Street
          New York, New York 10007




                                                                     MARTS


   Sworn to before me this
   l lth Day of January 2016



   NOTARY PUtsLIC
Case 1:16-cv-01364-JPO Document 17-1 Filed 05/24/16 Page 45 of 45
     Case l-:l-6-c '1364 Document 1-6 Filed O2l22l1 page S of 5




                                  AFFIDAVTT OF SBRVICE

 STATE OF NEW YORK                       )
                                         )   ss.
 COUNTY OF NEW YORK                      )

                 The undersigned, being duly swom, says:

                I am not a party to this action, am over 18 years of age and am empioyed
 at ltkowitz PLLC, 26 Broadway, 2lst Floor, New York, New york 10004.

                 On the l   lth Day of January 2016 at 3:28 p.m., I personally   served two (2)
 copies of the' arurexed Notice of Claim (hereinafter referred to collectively as 'çthe
 papers") on the Board of Education of the City Of New York and/or the Departrnent of
 Education of the City of New York and the Corporation Counsel of the City of New
 York. A proof of such servíce is attached hereto-

                 The address referred to above is as follows:

 To:      THE BOARD OF EDUCATION OF THE CITY OF I\[EW YORK AND/OR
          THE DEPARTMENT OF EDUCATION OF TTIE CITY OF NEW YORK
          52 Chambers Street, Room 320,84
          New York, New York 10007

          TIIE CORPORATION COUNSEL OF THE CITY OF NOW YORK
          100 Chr¡rch Street, 5ü Floor
          NewYork,NewYork 10007




                                                            SAM SMOUHA


                  me
     Day                    l6
                                                                    ¡lr
                                                                    Y
                                                                          'r,f




                                                                 COMM EXP.'
                                                                 útlortzorr
                                                            "t
                                                                  OFN
                                                                  tlat!l
